Case 2:17-bk-22432-WB       Doc 808 Filed 07/08/20 Entered 07/08/20 14:51:27               Desc
                             Main Document    Page 1 of 3



 1   Lewis R. Landau (CA Bar No. 143391)
     Attorney at Law
 2   22287 Mulholland Hwy., # 318
     Calabasas, California 91302
 3   Voice and Fax: (888)822-4340
     Email: Lew@Landaunet.com
 4
     Attorney for Reorganized Debtor
 5

 6
                              UNITED STATES BANKRUPTCY COURT
 7
                               CENTRAL DISTRICT OF CALIFORNIA
 8
                                       LOS ANGELES DIVISION
 9

10
     In re                                            Case No.: 2:17-bk-22432 WB
11
     Point.360, a California corporation,             Chapter 11
12
                                                      NOTICE OF ALLOWANCE OF CLAIM # 46
13                         Debtor.                    BY ACCO ENGINEERED SYSTEMS, INC.

14                                                    Date:        None Required
                                                      Time:        None Required
15                                                    Place:       Courtroom 1375; Judge Brand
                                                                   US Bankruptcy Court
16                                                                 255 E. Temple Street, 13th Floor
                                                                   Los Angeles, California 90012
17
             Point.360, a California corporation and reorganized debtor hereby acknowledges the
18
     allowance of proof of claim # 46 filed by ACCO Engineered Systems, Inc. on January 18, 2018.
19
     Dated: July 8, 2020                                Respectfully submitted,
20

21                                                      Lewis R. Landau
                                                        Attorney at Law
22

23
                                                        By:/s/ Lewis R. Landau
24                                                      Lewis R. Landau
                                                        Attorney for Reorganized Debtor
25

26

27

28
       Case 2:17-bk-22432-WB                      Doc 808 Filed 07/08/20 Entered 07/08/20 14:51:27                                       Desc
                                                   Main Document    Page 2 of 3



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
    22287 Mulholland Hwy., # 318
    Calabasas, CA 91302
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 NOTICE OF ALLOWANCE OF CLAIM # 46 BY ACCO ENGINEERED SYSTEMS, INC.
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
07/08/2020          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                       ✔ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

07/08/2020         Lewis R. Landau                                                             /s/ Lewis R. Landau
 Date                        Printed Name                                                       Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
           Case 2:17-bk-22432-WB                            Doc 808 Filed 07/08/20 Entered 07/08/20 14:51:27                                                       Desc
                                                             Main Document    Page 3 of 3
Ponit.360 NEF Service List:

David E Ahdoot on behalf of Creditor AFTRA Retirement Fund dahdoot@bushgottlieb.com, kireland@bushgottlieb.com
David E Ahdoot on behalf of Creditor SAG-AFTRA dahdoot@bushgottlieb.com, kireland@bushgottlieb.com
David E Ahdoot on behalf of Creditor SAG-AFTRA Health Fund dahdoot@bushgottlieb.com, kireland@bushgottlieb.com
James C Bastian, Jr on behalf of Creditor HWAY LLC jbastian@shulmanbastian.com
Ron Bender on behalf of Interested Party Courtesy NEF rb@lnbyb.com
Ron Bender on behalf of Interested Party Visual Data Media Services, Inc. rb@lnbyb.com
Daren Brinkman on behalf of Creditor Committee Official Committee Unsecured Creditors office@brinkmanlaw.com, 7764052420@filings.docketbird.com
Daren Brinkman on behalf of Creditor Committee Official Committee of Unsecured Creditors of Point.360, A California Corporation office@brinkmanlaw.com,
7764052420@filings.docketbird.com
Daren Brinkman on behalf of Plaintiff Committee of Creditors Holding Unsecured Claims office@brinkmanlaw.com, 7764052420@filings.docketbird.com
William S Brody on behalf of Creditor Austin Financial Services, Inc. wbrody@buchalter.com, dbodkin@buchalter.com;IFS_filing@buchalter.com
Russell Clementson on behalf of Counter-Claimant Office Of The United States Trustee russell.clementson@usdoj.gov
Russell Clementson on behalf of Defendant Office Of The United States Trustee russell.clementson@usdoj.gov
Russell Clementson on behalf of U.S. Trustee United States Trustee (LA) russell.clementson@usdoj.gov
Peter A Davidson on behalf of Interested Party Courtesy NEF pdavidson@ecjlaw.com, amatsuoka@ecjlaw.com
W. Jeffery Fulton on behalf of Creditor US Bank National Association jeff@jefffultonlaw.com, Yvonne@jefffultonlaw.com Jeffrey F Gersh on behalf of Interested Party Visual
Data Media Services, Inc. jgersh@gershlegal.com,
hnapier@gershlegal.com;jsedivy@gershlegal.com;hcory@stubbsalderton.com;jgersh@stubbsalderton.com;jsedivy@stubbsalderton.com
Asa S Hami on behalf of Interested Party Visual Data Media Services, Inc. ahami@sulmeyerlaw.com,
pdillamar@sulmeyerlaw.com;pdillamar@ecf.inforuptcy.com;cblair@sulmeerlaw.com;ahami@ecf.inforuptcy.com
Brian T Harvey on behalf of Creditor Austin Financial Services, Inc. bharvey@buchalter.com, IFS_filing@buchalter.com;dbodkin@buchalter.com
Daniel P Hogan on behalf of Debtor Point.360, a California Corporation dhogan@mccabehogan.com, dhogan460@gmail.com
Daniel P Hogan on behalf of Defendant Deloitte Corporate Finance, LLC dhogan@mccabehogan.com, dhogan460@gmail.com
Daniel P Hogan on behalf of Defendant Deloitte Transactions and Business Analytics, LLP dhogan@mccabehogan.com, dhogan460@gmail.com
Daniel P Hogan on behalf of Defendant Medley Capital Corporation dhogan@mccabehogan.com, dhogan460@gmail.com Daniel P Hogan on behalf of Defendant Medley
Opportunity Fund II LP dhogan@mccabehogan.com, dhogan460@gmail.com
Daniel P Hogan on behalf of Plaintiff Point.360, a California Corporation dhogan@mccabehogan.com, dhogan460@gmail.com
Daniel P Hogan on behalf of Special Counsel Daniel P Hogan dhogan@mccabehogan.com, dhogan460@gmail.com
Garrick A Hollander on behalf of Interested Party Modern VideoFilm, Inc. ghollander@wghlawyers.com,
pj@wcghlaw.com;jmartinez@wghlawyers.com;Meir@virtualparalegalservices.com
William W Huckins on behalf of Creditor REEP-OFC 2300 Empire CA LLC whuckins@allenmatkins.com, clynch@allenmatkins.com
Robert A Julian on behalf of Defendant Deloitte Corporate Finance, LLC rjulian@winston.com, hhammon@winston.com
Robert A Julian on behalf of Defendant Deloitte Transactions and Business Analytics, LLP rjulian@winston.com, hhammon@winston.com
Robert A Julian on behalf of Defendant Medley Capital Corporation rjulian@winston.com, hhammon@winston.com
Robert A Julian on behalf of Defendant Medley Opportunity Fund II LP rjulian@winston.com, hhammon@winston.com
Robert A Julian on behalf of Plaintiff Point.360, a California Corporation rjulian@winston.com, hhammon@winston.com
Lance N Jurich on behalf of Defendant Deloitte Corporate Finance, LLC ljurich@loeb.com, karnote@loeb.com;ladocket@loeb.com;ljurich@ecf.courtdrive.com
Lance N Jurich on behalf of Defendant Deloitte Transactions and Business Analytics, LLP ljurich@loeb.com, karnote@loeb.com;ladocket@loeb.com;ljurich@ecf.courtdrive.com
Lance N Jurich on behalf of Defendant Medley Capital Corporation ljurich@loeb.com, karnote@loeb.com;ladocket@loeb.com;ljurich@ecf.courtdrive.com
Lance N Jurich on behalf of Defendant Medley Opportunity Fund II LP ljurich@loeb.com, karnote@loeb.com;ladocket@loeb.com;ljurich@ecf.courtdrive.com
Lance N Jurich on behalf of Plaintiff Point.360, a California Corporation ljurich@loeb.com, karnote@loeb.com;ladocket@loeb.com;ljurich@ecf.courtdrive.com
David S Kupetz on behalf of Interested Party Visual Data Media Services, Inc. dkupetz@sulmeyerlaw.com,
dperez@sulmeyerlaw.com;dperez@ecf.courtdrive.com;dkupetz@ecf.courtdrive.com
Lewis R Landau on behalf of Counter-Defendant Point.360, a California Corporation Lew@Landaunet.com
Lewis R Landau on behalf of Debtor Point.360, a California Corporation Lew@Landaunet.com
Lewis R Landau on behalf of Plaintiff Committee of Creditors Holding Unsecured Claims Lew@Landaunet.com
Lewis R Landau on behalf of Plaintiff Point.360, a California Corporation Lew@Landaunet.com
Dare Law on behalf of U.S. Trustee United States Trustee (LA) dare.law@usdoj.gov
Melissa Davis Lowe on behalf of Creditor HWAY LLC mlowe@shulmanbastian.com, sswartzell@shulmanbastian.com
Alvin Mar on behalf of Defendant Office Of The United States Trustee alvin.mar@usdoj.gov, dare.law@usdoj.gov
David W. Meadows on behalf of Interested Party Courtesy NEF david@davidwmeadowslaw.com
Elissa Miller on behalf of Interested Party Courtesy NEF emiller@sulmeyerlaw.com, emillersk@ecf.inforuptcy.com;ccaldwell@sulmeyerlaw.com
Elissa Miller on behalf of Interested Party Visual Data Media Services, Inc. emiller@sulmeyerlaw.com, emillersk@ecf.inforuptcy.com;ccaldwell@sulmeyerlaw.com
Shane J Moses on behalf of Interested Party Courtesy NEF smoses@foley.com, vgoldsmith@foley.com
Austin P Nagel on behalf of Creditor Toyota Motor Credit Corporation, servicing agent for Toyota Lease Trust melissa@apnagellaw.com
Sean A OKeefe on behalf of Creditor HARBOR CENTER PARTNERS, L.P. sokeefe@okeefelc.com, seanaokeefe@msn.com
Juliet Y Oh on behalf of Interested Party Moshe Barkat jyo@lnbrb.com, jyo@lnbrb.com
Aleksandra Page on behalf of Creditor BB&T apage@ecf.inforuptcy.com
Sayuj Panicker on behalf of Creditor Los Angeles County Treasurer and Tax Collector spanicker@counsel.lacounty.gov
Sayuj Panicker on behalf of Interested Party Courtesy NEF spanicker@counsel.lacounty.gov
Laura J Portillo on behalf of Creditor Committee Official Committee Unsecured Creditors Attorneys@portilloronk.com
Laura J Portillo on behalf of Creditor Committee Official Committee of Unsecured Creditors of Point.360, A California Corporation Attorneys@portilloronk.com
Justin E Rawlins on behalf of Creditor Medley Capital Corporation justinrawlins@paulhastings.com, shelbywidawski@paulhastings.com
Justin E Rawlins on behalf of Creditor Medley Opportunity Fund II LP justinrawlins@paulhastings.com, shelbywidawski@paulhastings.com
Justin E Rawlins on behalf of Defendant Medley Capital Corporation justinrawlins@paulhastings.com, shelbywidawski@paulhastings.com Justin E Rawlins on behalf of
Defendant Medley Opportunity Fund II LP
 justinrawlins@paulhastings.com, shelbywidawski@paulhastings.com
Vincent Renda on behalf of Creditor Leafs Properties, LP vr@rendalawoffices.com, ld@rendalawoffices.com
Michael B Reynolds on behalf of Creditor California Physicians' Service, dba Blue Shield of California mreynolds@swlaw.com, kcollins@swlaw.com
Jason E Rios on behalf of Interested Party CVF Capital Partners, Inc., Central Valley Fund III (SIBC), LP and Central Valley Fund II, LP jrios@ffwplaw.com,
docket@ffwplaw.com
Kevin C Ronk on behalf of Creditor Committee Official Committee Unsecured Creditors Kevin@portilloronk.com, Attorneys@portilloronk.com
Andrea C Rosati on behalf of Creditor LEAFS LP andrea@fsgjlaw.com, linh@fsgjlaw.com
Lisa Seabron on behalf of Creditor WRI West Gate South, L.P. lseabron@weingarten.com
Ronald A Spinner on behalf of Creditor Softitler dba Deluxe Localization Sfera spinner@millercanfield.com
Andrew Still on behalf of Creditor California Physicians' Service, dba Blue Shield of California astill@swlaw.com, kcollins@swlaw.com
Arvin Tseng on behalf of Creditor TROY / GOULD PC atseng@troygould.com, kjm@troygould.com;reh@troygould.com
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
Christopher B Wick on behalf of Creditor Crown Communication Inc. cwick@hahnlaw.com, lmay@hahnlaw.com
Latonia Williams on behalf of Creditor UnitedHealthcare Insurance Company lwilliams@goodwin.com, bankruptcy@goodwin.com
Rolf S Woolner on behalf of Creditor Medley Capital Corporation rwoolner@winston.com, ecf_sf@winston.com;pacercourtfile@winston.com;rolf-woolner-
7959@ecf.pacerpro.com
Rolf S Woolner on behalf of Creditor Medley Opportunity Fund II LP rwoolner@winston.com, ecf_sf@winston.com;pacercourtfile@winston.com;rolf-woolner-
7959@ecf.pacerpro.com
Gabe P Wright on behalf of Creditor Crown Communication Inc. GWRIGHT@hahnlaw.COM, mkanamori@hahnlaw.com
Claire K Wu on behalf of Interested Party Visual Data Media Services, Inc. ckwu@sulmeyerlaw.com,
mviramontes@sulmeyerlaw.com;ckwu@ecf.courtdrive.com;ckwu@ecf.inforuptcy.com
